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                                                       1   Bart K. Larsen, Esq.
                                                           Nevada Bar No. 8538
                                                       2   Kyle M. Wyant, Esq.
                                                           Nevada Bar No. 14652
                                                       3   SHEA LARSEN
                                                           1731 Village Center Circle, Suite 150
                                                       4   Las Vegas, Nevada 89134
                                                           Telephone: (702) 471-7432
                                                       5   Fax: (702) 926-9683
                                                           Email: jshea@shea.law
                                                       6           blarsen@shea.law
                                                                   kwyant@shea.law
                                                       7
                                                           Attorneys for HASelect-Medical Receivables
                                                       8   Litigation Finance Fund International SP
                                                       9                            UNITED STATES BANKRUPTCY COURT
                                                      10                                      DISTRICT OF NEVADA
                                                      11   In re:
                                                                                                                    Case No. 21-14486-abl
              1731 Village Center Circle, Suite 150




                                                      12   INFINITY CAPITAL MANAGEMENT, INC.                        Chapter 7
                                                           dba INFINITY HEALTH CONNECTIONS;
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13
                        (702) 471-7432




                                                                                  Debtor.
                                                      14
                                                                   NOTICE OF ISSUANCE OF SUBPOENA TO PRODUCE DOCUMENTS,
                                                      15       INFORMATION, OR OBJECTS OR TO PERMIT INSPECTION OF PREMISES IN A
                                                                        BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)
                                                      16
                                                                    TO ALL INTERESTED PARTIES AND THEIR RESPECTIVE COUNSEL:
                                                      17
                                                                    PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 45(a)(4) and Fed. R. Bankr. P.
                                                      18
                                                           2004, HASelect-Medical Receivables Litigation Finance Fund International SP, by and through its
                                                      19
                                                           undersigned counsel, intends to serve the Subpoena to Produce Documents, Information, or Objects
                                                      20
                                                           or to Permit Inspection of Premises in a Bankruptcy Case (or Adversary Proceeding) attached hereto
                                                      21
                                                           as Exhibit 1 on XERO LIMITED.
                                                      22
                                                                    DATED this WK day of -DQXDU\, 202.
                                                      23
                                                                                                              SHEA LARSEN
                                                      24                                                      /s/ Bart K. Larsen, Esq.
                                                                                                              Bart K. Larsen, Esq.
                                                      25                                                      Nevada Bar No. 8538
                                                                                                              Kyle M. Wyant, Esq.
                                                      26                                                      Nevada Bar No. 14652
                                                                                                              1731 Village Center Circle, Suite 150
                                                      27                                                      Las Vegas, Nevada 89134
                                                                                                              Attorneys for HASelect-Medical Receivables
                                                      28                                                      Litigation Finance Fund International SP


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                                                       1                                  CERTIFICATE OF SERVICE

                                                       2             On -DQXDU\ , 202, I served the following document(s): NOTICE OF
                                                                       ISSUANCE OF SUBPOENA TO PRODUCE DOCUMENTS,
                                                       3               INFORMATION, OR OBJECTS OR TO PERMIT INSPECTION OF
                                                                       PREMISES IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)
                                                       4
                                                                     I served the above document(s) by the following means to the persons as listed
                                                       5               below:
                                                       6               ց       a.     ECF System:
                                                       7               ROBERT E. ATKINSON, Chapter 7 Trustee
                                                                       Robert@ch7.vegas; TrusteeECF@ch7.vegas; ecf.alert+atkinson@titlexi.com
                                                       8
                                                                       CLARISSE L. CRISOSTOMO on behalf of Trustee ROBERT E. ATKINSON
                                                       9               clarisse@nv-lawfirm.com, bknotices@nv-lawfirm.com
                                                      10               BART K. LARSEN on behalf of Creditor HASELECT-MEDICAL
                                                                       RECEIVABLES LITIGATION FINANCE FUND INTERNATIONAL SP
                                                      11               blarsen@shea.law; 3542839420@filings.docketbird.com
              1731 Village Center Circle, Suite 150




                                                      12               DAVID MINCIN, BRADFORD IRELAN, and JACOB M. STEPHENS on behalf
                                                                       of Creditor HEALTHPLUS IMAGING OF TEXAS, LLC
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13               dmincin@mincinlaw.com; cburke@mincinlaw.com; birelan@imtexaslaw.com
                        (702) 471-7432




                                                      14               MATTHEW C. ZIRZOW on behalf of Debtor INFINITY CAPITAL
                                                                       MANAGEMENT, INC.
                                                      15               mzirzow@lzlawnv.com; carey@lzlawnv.com; trish@lzlawnv.com;
                                                                       allison@lzlawnv.com; zirzow.matthewc.r99681@notify.bestcase.com
                                                      16
                                                                       MICHAEL D. NAPOLI, ARIEL E. STERN, GERALD M. GORDON, and
                                                      17               GABRIELLE A. HAMM on behalf of Creditor TECUMSEH – INFINITY
                                                                       MEDICAL RECEIVABLES FUND, LP
                                                      18               Ariel.stern@akerman.com; Michael.napoli@akerman.com; ggordon@gtg.legal;
                                                                       ghamm@gtg.legal
                                                      19
                                                                       U.S. TRUSTEE – LV – 7, U.S. Trustee
                                                      20               USTPRegion17.LV.ECF@usdoj.gov
                                                      21               TRENT L. RICHARDS on behalf of Creditor THE INJURY SPECIALISTS
                                                                       trichards@sagebrushlawyers.com
                                                      22
                                                                       տ       b.     United States mail, postage fully prepaid:
                                                      23
                                                                       տ       c.     Personal Service:
                                                      24
                                                                       I personally delivered the document(s) to the persons at these addresses:
                                                      25
                                                                                       տ       For a party represented by an attorney, delivery was made by
                                                      26               handing the document(s) at the attorney’s office with a clerk or other person in
                                                                       charge, or if no one is in charge by leaving the document(s) in a conspicuous place
                                                      27               in the office.
                                                      28                              տ      For a party, delivery was made by handling the document(s)


                                                                                                    Page 2 of 3
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                                                       1               to the party or by leaving the document(s) at the person’s dwelling house or usual
                                                                       place of abode with someone of suitable age and discretion residing there.
                                                       2
                                                                       տ       d.      By direct email (as opposed to through the ECF System):
                                                       3               Based upon the written agreement of the parties to accept service by email or a
                                                                       court order, I caused the document(s) to be sent to the persons at the email
                                                       4               addresses listed below. I did not receive, within a reasonable time after the
                                                                       transmission, any electronic message or other indication that the transmission was
                                                       5               unsuccessful.

                                                       6               տ       e.       By fax transmission:

                                                       7               Based upon the written agreement of the parties to accept service by fax
                                                                       transmission or a court order, I faxed the document(s) to the persons at the fax
                                                       8               numbers listed below. No error was reported by the fax machine that I used. A copy
                                                                       of the record of the fax transmission is attached.
                                                       9
                                                                       տ       f.       By messenger:
                                                      10
                                                                       I served the document(s) by placing them in an envelope or package addressed to
                                                      11               the persons at the addresses listed below and providing them to a messenger for
                                                                       service.
              1731 Village Center Circle, Suite 150




                                                      12
                                                                       I declare under penalty of perjury that the foregoing is true and correct.
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13
                        (702) 471-7432




                                                                       Dated: -DQXDU\ , 202.
                                                      14                                                By: /s/ Bart K. Larsen, Esq,

                                                      15

                                                      16

                                                      17

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                                                                                                     Page 3 of 3
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                    EXHIBIT 1
                         Case 21-14486-abl                 Doc 173          Entered 01/13/22 14:02:00                    Page 5 of 12
B2570 (Form 2570 – Subpoena to Produce Documents, Information, or Objects or To Permit Inspection in a Bankruptcy Case or Adversary Proceeding) (12/15)

                                      UNITED STATES BANKRUPTCY COURT
                                                        Nevada
  _________________________________________ District of _________________________________________
      Infinity Capital Management, Inc.
In re __________________________________________
                                    Debtor
                                                                                              21-14486-abl
                                                                                     Case No. _____________________
          (Complete if issued in an adversary proceeding)
                                                                                             7
                                                                                     Chapter ___________
_________________________________________
                                    Plaintiff
                         v.                                                          Adv. Proc. No. ________________
__________________________________________
                                  Defendant

         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS OR TO PERMIT
         INSPECTION OF PREMISES IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)

  To:   Xero Limited, 1615 Platte Street, Floor 4, Denver, CO 80202
        ________________________________________________________________________________________
                                                          (Name of person to whom the subpoena is directed)

      Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
  documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of
  the material: 6HH([KLELW$DWWDFKHGKHUHWR

  PLACE                                                                                                      DATE AND TIME
    Shea Larsen PC, 1731 Village Center Circle, Suite 150, Las Vegas, NV 89134                                /2022 by 5:00 p.m.

      Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
  other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
  may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.
  PLACE                                                                                                      DATE AND TIME




          The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
  attached – Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
  subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
  doing so.
        -DQXDU\202
  Date: _____________
                                    CLERK OF COURT

                                                                                    OR
                                    ________________________                                  /s/ Bart K. Larsen, Esq.
                                                                                            ________________________
                                    Signature of Clerk or Deputy Clerk                            Attorney’s signature

  The name, address, email address, and telephone number of the attorney representing (name of party)HASelect-Medical Receivables
  ____________________________
   Litigation Finance Fund International, SP  , who issues or requests this subpoena, are:
  BART K. LARSEN, ESQ., 1731 Village Center Circle, Suite 150, Las Vegas, Nevada 89134 (702) 471-7432
                                           Notice to the person who issues or requests this subpoena
  If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
  inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on
  the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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B2570 ((Form 2570 – Subpoena
                       p     to Produce Documents,, Information,, or Objects
                                                                       j     or To Permit Inspection
                                                                                             p       in a Bankruptcy
                                                                                                                p y Case or Adversary
                                                                                                                                    y Proceeding)
                                                                                                                                               g) ((Page
                                                                                                                                                      g 2))



                                                                 PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any): ______________________________________________
on (date) __________ .

   I served the subpoena by delivering a copy to the named person as follows: ____________________________________
___________________________________________________________________________________________________
__________________________________ on (date) ___________________ ; or

   I returned the subpoena unexecuted because: ____________________________________________________________
___________________________________________________________________________________________________

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the
witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of $ _______________________ .

 My fees are $ _________ for travel and $_________ for services, for a total of $_________ .


          I declare under penalty of perjury that this information is true and correct.

Date: _______________
                                                                                    ________________________________________________
                                                                                                                  Server’s signature

                                                                                    ________________________________________________
                                                                                                               Printed name and title


                                                                                    ________________________________________________
                                                                                                                   Server’s address


Additional information concerning attempted service, etc.:
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B2570 ((Form 2570 – Subpoena
                       p     to Produce Documents,, Information,, or Objects
                                                                       j     or To Permit Inspection
                                                                                             p       in a Bankruptcy
                                                                                                                p y Case or Adversary
                                                                                                                                    y Proceeding)
                                                                                                                                               g) ((Page
                                                                                                                                                      g 3))


                            Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
                        (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

(c) Place of compliance.                                                                      (ii) disclosing an unretained expert's opinion or information that does
                                                                                        not describe specific occurrences in dispute and results from the expert's
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                           (C) Specifying Conditions as an Alternative. In the circumstances
    (A) within 100 miles of where the person resides, is employed, or                   described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                              modifying a subpoena, order appearance or production under specified
    (B) within the state where the person resides, is employed, or regularly            conditions if the serving party:
transacts business in person, if the person                                                    (i) shows a substantial need for the testimony or material that cannot
      (i) is a party or a party’s officer; or                                           be otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial                      (ii) ensures that the subpoenaed person will be reasonably
expense.                                                                                compensated.

  (2) For Other Discovery. A subpoena may command:                                      (e) Duties in Responding to a Subpoena.
    (A) production of documents, or electronically stored information, or
things at a place within 100 miles of where the person resides, is employed,              (1) Producing Documents or Electronically Stored Information. These
or regularly transacts business in person; and                                          procedures apply to producing documents or electronically stored
    (B) inspection of premises, at the premises to be inspected.                        information:
                                                                                            (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.
                                                                                        documents must produce them as they are kept in the ordinary course of
                                                                                        business or must organize and label them to correspond to the categories in
      (1) Avoiding Undue Burden or Expense; Sanctions. A party or
                                                                                        the demand.
attorney responsible for issuing and serving a subpoena must take
                                                                                            (B) Form for Producing Electronically Stored Information Not
reasonable steps to avoid imposing undue burden or expense on a person
                                                                                        Specified. If a subpoena does not specify a form for producing
subject to the subpoena. The court for the district where compliance is
                                                                                        electronically stored information, the person responding must produce it in
required must enforce this duty and impose an appropriate sanction —
                                                                                        a form or forms in which it is ordinarily maintained or in a reasonably
which may include lost earnings and reasonable attorney's fees — on a
                                                                                        usable form or forms.
party or attorney who fails to comply.
                                                                                            (C) Electronically Stored Information Produced in Only One Form. The
                                                                                        person responding need not produce the same electronically stored
  (2) Command to Produce Materials or Permit Inspection.
                                                                                        information in more than one form.
    (A) Appearance Not Required. A person commanded to produce
                                                                                            (D) Inaccessible Electronically Stored Information. The person
documents, electronically stored information, or tangible things, or to
                                                                                        responding need not provide discovery of electronically stored information
permit the inspection of premises, need not appear in person at the place of
                                                                                        from sources that the person identifies as not reasonably accessible because
production or inspection unless also commanded to appear for a deposition,
                                                                                        of undue burden or cost. On motion to compel discovery or for a protective
hearing, or trial.
                                                                                        order, the person responding must show that the information is not
    (B) Objections. A person commanded to produce documents or tangible
                                                                                        reasonably accessible because of undue burden or cost. If that showing is
things or to permit inspection may serve on the party or attorney designated
                                                                                        made, the court may nonetheless order discovery from such sources if the
in the subpoena a written objection to inspecting, copying, testing or
                                                                                        requesting party shows good cause, considering the limitations of Rule
sampling any or all of the materials or to inspecting the premises — or to
                                                                                        26(b)(2)(C). The court may specify conditions for the discovery.
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
                                                                                           (2) Claiming Privilege or Protection.
compliance or 14 days after the subpoena is served. If an objection is made,
                                                                                             (A) Information Withheld. A person withholding subpoenaed
the following rules apply:
                                                                                        information under a claim that it is privileged or subject to protection as
      (i) At any time, on notice to the commanded person, the serving party
                                                                                        trial-preparation material must:
may move the court for the district where compliance is required for an
                                                                                               (i) expressly make the claim; and
order compelling production or inspection.
                                                                                               (ii) describe the nature of the withheld documents, communications,
      (ii) These acts may be required only as directed in the order, and the
                                                                                        or tangible things in a manner that, without revealing information itself
order must protect a person who is neither a party nor a party's officer from
                                                                                        privileged or protected, will enable the parties to assess the claim.
significant expense resulting from compliance.
                                                                                             (B) Information Produced. If information produced in response to a
                                                                                        subpoena is subject to a claim of privilege or of protection as trial-
  (3) Quashing or Modifying a Subpoena.
                                                                                        preparation material, the person making the claim may notify any party that
    (A) When Required. On timely motion, the court for the district where
                                                                                        received the information of the claim and the basis for it. After being
compliance is required must quash or modify a subpoena that:
                                                                                        notified, a party must promptly return, sequester, or destroy the specified
      (i) fails to allow a reasonable time to comply;
                                                                                        information and any copies it has; must not use or disclose the information
      (ii) requires a person to comply beyond the geographical limits
                                                                                        until the claim is resolved; must take reasonable steps to retrieve the
specified in Rule 45(c);
                                                                                        information if the party disclosed it before being notified; and may
      (iii) requires disclosure of privileged or other protected matter, if no
                                                                                        promptly present the information under seal to the court for the district
exception or waiver applies; or
                                                                                        where compliance is required for a determination of the claim. The person
      (iv) subjects a person to undue burden.
                                                                                        who produced the information must preserve the information until the claim
    (B) When Permitted. To protect a person subject to or affected by a
                                                                                        is resolved.
subpoena, the court for the district where compliance is required may, on
                                                                                        …
motion, quash or modify the subpoena if it requires:
                                                                                        (g) Contempt. The court for the district where compliance is required – and
      (i) disclosing a trade secret or other confidential research,
                                                                                        also, after a motion is transferred, the issuing court – may hold in contempt
development, or commercial information; or
                                                                                        a person who, having been served, fails without adequate excuse to obey
                                                                                        the subpoena or an order related to it.


                                          For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013)
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                                  EXHIBIT A TO SUBPOENA
                            DEFINITIONS AND INSTRUCTIONS

       1.      “Communication” means any oral or written statement, dialogue, colloquy,

discussion, or conversation, and includes any transfer of thoughts or ideas or data or information,

between persons or locations by means of any Documents or by any other means, including but

not limited to electronic or similar means.

       2.      “Control” means in your possession, custody or control or under your direction,

and includes in the possession, custody or control of those under the direction of you or your

employees, subordinates, counsel, accountant, consultant, expert, parent or affiliated corporation,

and any person purporting to act on your behalf.

       3.      “Document” means any written or graphic matter and other means of preserving

thought or expression and all tangible things from which information can be processed or

transcribed, including the originals and all non-identical copies, whether different from the original

by reason of any notation made on such copy or otherwise, including, but not limited to,

correspondence, emails, memoranda, notes, messages, letters, telegrams, teletype, telefax,

bulletins, meetings or other communications, inter-office and intra-office telephone calls, diaries,

chronological data, minutes, books, reports, studies, summaries, pamphlets, bulletins, printed

matter, charts, ledgers, invoices, worksheets, receipts, returns, computer printouts, prospectuses,

financial statements, schedules, affidavits, contracts, canceled checks, statements, transcripts,

statistics, surveys, magazine or newspaper articles, releases (and any and all drafts, alterations or

modifications, changes and amendments of any of the foregoing), graphic or aural records or

representations of any kind (including without limitation, photographs, microfiche, microfilm,

videotape, records and motion pictures) and electronic, mechanical or electric records or

representations of any kind (including without limitation, tapes, cassettes, discs and records) as

well as all Electronically Stored Information (“ESI”), which refers to any type of information that

is created, used, or stored in digital form and accessible by digital means, including but not limited

to, all data, digital documents, email, electronic documents, and metadata of the same (and is
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further defined below). For the avoidance of doubt, Document includes but is not limited to all

Communications.

       4.      “Infinity” shall refer to Debtor Infinity Capital Management, Inc., d/b/a Infinity

Health Connections, and where appropriate, its Representatives.

       5.      “Person” refers to any natural individual, governmental entity, or business entity,

including a corporation, partnership, association, limited liability company, or other entity or

combination thereof, and all corporations, divisions, or entities affiliated with, owned, or

controlled directly or indirectly or owning or controlling directly or indirectly any such entities as

well as directors, officers, managers, employees, agents, attorneys, affiliates, or other

representatives thereof, or third parties retained by any of the above.

       6.      The terms “related to”, “relate to”, or “relating to” shall mean directly or

indirectly, refer to, reflect, describe, pertain to, arise out of or in connection with, or in any way

legally, logically, or factually be connected with the matter discussed.

       7.      “Representative” means any and all agents, employees, servants, officers,

directors, attorneys, or other persons acting or purporting to act on behalf of the person in question.

       8.      “Xero” or “You” shall refer to Xero Limited, and where appropriate, its

Representatives.

       9.      The words “and” and “or” as used herein shall be construed either disjunctively or

conjunctively as required by the context to bring within the scope of these Requested Documents

any answer that might be deemed outside their scope by another construction.

       10.     When producing the Documents, please keep all Documents segregated by the file

in which the Documents are contained and indicate the name of the file in which the Documents

are contained, and the name of the Documents being produced.

       11.     When producing the required Documents, please produce all other Documents that

are clipped, stapled, or otherwise attached to any requested Document.

       12.     In the event such file(s) or Document(s) has (have) been removed, either for the

purpose of this action or for some other purpose, please state the name and address of the person
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who removed the file, the title of the file and each subfile, if any, maintained within the file, and

the present location of the file.

        13.     Each draft, final Document, original, reproduction, and each signed and unsigned

Document and every additional copy of such Document where such copy contains any

commentary, note, notation or other change whatsoever that does not appear on the original or on

the copy of the one Document produced shall be deemed and considered to constitute a separate

Document.

        14.     If any of the Documents encompassed by the attached request for production of

Documents is/are deemed by you to be privileged, furnish all non-privileged Documents and

provide a log outlining all Documents claimed as privileged which includes: (a) the type of

privilege claimed for each Document; (b) a brief description of the Document; (c) the author of

the Document sufficient to identify it; (d) the recipient (if any); (e) the date of the Document.

        15.     When appropriate, the singular form of a word should be interpreted in the plural

as may be necessary to bring within the scope hereof any Documents which might otherwise be

construed to be outside the scope hereof.

        16.     In addition to Documents currently in your possession, custody or control, you are

to produce all Documents within the scope of these requests that are not currently in your

possession, custody, or control but can be obtained through reasonable effort.

        17.     This request calls for the production of all electronic Documents and electronically

stored information (ESI) responsive to the requests below, including but not limited to e-mails and

any related attachments, electronic files, or other data compilations that relate to the categories of

Documents requested below. Your search for these electronically stored Documents shall include

all of your computer hard drives, floppy discs, compact discs, backup and archival tapes,

removable media such as zip drives, password protected and encrypted files, databases, electronic

calendars, personal digital assistants, iPhones, smart phones, tablets, iPads, proprietary software,

and inactive or unused computer disc storage areas.
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                         DOCUMENT PRODUCTION REQUESTS

       1.     All Documents, including, but not limited to, all accounting records, relating to

Infinity or an affiliated Person, including, but not limited to, Oliver Hemmers, Anne Pantelas,

Infinity Health Solutions, LLC, and GPMicro, Inc., from January 1, 2017 through present day.

       2.     All Documents, including, but not limited to, all accounting records relating to any

Xero account (including all subaccounts) using oliver@infinitycapital.com as a username or other

means of identification from January 1, 2017 through present day.

       3.     All Documents, including, but not limited to, all accounting records relating to any

Xero account (including all subaccounts) using oliver@infinityhealth.com as a username or other

means of identification from January 1, 2017 through present day.

       4.     All Documents, including, but not limited to, all accounting records relating to any

Xero account (including all subaccounts) using oliver.hemmers@gmail.com as a username or

other means of identification from January 1, 2017 through present day.

       5.     All Documents, including, but not limited to, all accounting records relating to any

Xero account (including all subaccounts) using ohemmers@gpmicro.com as a username or other

means of identification from January 1, 2017 through present day.

       6.     All Documents, including, but not limited to, all accounting records relating to any

Xero account (including all subaccounts) using ohemmers@hotmail.com as a username or other

means of identification from January 1, 2017 through present day.

       7.     All Documents, including, but not limited to, all accounting records relating to any

Xero account (including all subaccounts) using oliver@infinityhealth.solutions as a username or

other means of identification from January 1, 2017 through present day.

       8.     All Documents, including, but not limited to, all accounting records relating to any

Xero account (including all subaccounts) using ohemmers@icloud.com as a username or other

means of identification from January 1, 2017 through present day

       9.     All Documents, including, but not limited to, all accounting records relating to any

Xero account (including all subaccounts) using anne@infinitycapital.com as a username or other
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means of identification from January 1, 2017 through present day.

       10.    All Documents, including, but not limited to, all accounting records relating to any

Xero account (including all subaccounts) using anne@infinityhealth.com as a username or other

means of identification from January 1, 2017 through present day.

       11.    All Documents, including, but not limited to, all accounting records relating to any

Xero account (including all subaccounts) using anne@gpmicro.com as a username or other means

of identification from January 1, 2017 through present day.

       12.    All Documents, including, but not limited to, all accounting records relating to any

Xero account (including all subaccounts) using anne@infinityhealth.solutions as a username or

other means of identification from January 1, 2017 through present day.
